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             IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF FLORIDA
                      ORLANDO DIVISION

SPEECH FIRST, INC.,
                            Plaintiff,
                                         Case No. 6:21-cv-00313
v.
                                         Oral Argument Requested
ALEXANDER CARTWRIGHT, in his
official capacity as President of the
University of Central Florida, et al.,
                          Defendants.


     PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION
     AND SUPPORTING MEMORANDUM OF LEGAL AUTHORITY
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              MOTION FOR PRELIMINARY INJUNCTION
      Plaintiff, Speech First, Inc., works to restore the freedom of speech on

college campuses. It has members who attend the University of Central Flor-

ida, including Students A, B, and C. Speech First challenges three University

policies that violate its members’ constitutional rights:

      1. The policy on         “discriminatory    harassment.”     UCF     Policy
         2-004.2(IV)(B).
      2. The policy on sending “harassing or hate messages,” UCF Policy
         4-002.2(B)(7)(b), or messages that “reasonably could be perceived as
         being harassing, invasive, or otherwise unwanted,” ResNet User
         Agreement, it.ucf.edu/resnet/user-agreement/.
      3. The policy on “bias-related incidents,” as enforced by the Just Knights
         Response Team, Bias-Related Incidents, jkrt.sdes.ucf.edu/bias/.

Speech First asks this Court to preliminarily enjoin Defendants from enforcing

these policies during this litigation. Fed. R. Civ. P. 65; Local Rule 4.06. Speech

First notified Defendants of this motion. Local Rule 6.02.

      Speech First is entitled to preliminary relief. The challenged policies are

likely unconstitutional because they impose vague, overbroad, content-based,

and viewpoint-based restrictions on protected speech. Deprivations of free

speech are a classic form of irreparable harm. And because the policies are

likely unconstitutional, the equities and public interest necessarily favor an

injunction. For all these reasons, which are detailed below, the Court should

grant this motion and enter a preliminary injunction.




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                MEMORANDUM OF LEGAL AUTHORITY
      “The vigilant protection of constitutional freedoms is nowhere more vital

than in the community of American schools.” Healy v. James, 408 U.S. 169, 180

(1972). “The college campus” is supposed to “serve as a marketplace of ideas

and a forum for the robust exchange of different viewpoints.” Solid Rock

Found. v. Ohio State Univ., 478 F. Supp. 96, 102 (S.D. Ohio 1979). But the

University of Central Florida has enacted three policies that restrain, deter,

suppress, and punish speech.

      First, the University’s discriminatory-harassment policy bans certain

speech—“verbal acts,” “name-calling,” and “graphic or written statements”—

“based upon” someone’s “national origin,” “non-religion,” “gender identity,” “po-

litical affiliations,” and other protected classifications. This overbroad, view-

point-based restriction on speech violates the First Amendment.

      Second, the University’s computer policy forbids students from sending

“hate messages” or messages that “could be perceived as being harassing, in-

vasive, or otherwise unwanted.” Contrary to popular belief, the First Amend-

ment has no exception for “hate speech” or “harassment.” The computer policy’s

vague, overbroad restrictions on speech violate the Constitution.

      Third, the University maintains a bias-response team, called the Just

Knights Response Team (JKRT). Comprised of University administrators (in-

cluding a police officer), the JKRT monitors “bias-related incidents” on and off



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campus. A “bias-related incident” is anything, even if “unintentional,” that is

“directed towards an individual or group based upon actual or perceived iden-

tity characteristics or background.” Students accused of “bias-related inci-

dents” can be summoned for “discussion, counseling, training, [or] consensus-

building” or referred for formal discipline. Bias-response teams like the JKRT,

in effect and by design, are “the clenched fist in the velvet glove of student

speech regulation.” Speech First, Inc. v. Fenves, 979 F.3d 319, 338 (5th Cir.

2020). The JKRT’s bureaucratic processes—and the vague, overbroad defini-

tion of “bias-related incident” that triggers them—violate the First and Four-

teenth Amendments.

      Speech First will likely prevail on the merits of these constitutional

claims. Because it readily satisfies the remaining criteria for a preliminary in-

junction, this Court should grant its motion.

                               BACKGROUND
      The University regulates its students in several ways. Three of those

policies cross the constitutional line: its discriminatory-harassment policy, its

computer-use policy, and its JKRT protocol for bias-related incidents.

I.    The Discriminatory-Harassment Policy
      In the fall of 2020, the University published Policy 2-004.2, titled “Pro-

hibition of Discrimination, Harassment, and Related Interpersonal Violence.”

Policy 2-004.2 bans “discriminatory harassment” that causes a “hostile



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environment.” Shapiro Decl., Ex. A at 9. It defines such harassment as “verbal,

physical, electronic or other conduct based upon” a “protected class” that “in-

terferes with that individual’s educational or employment opportunities, par-

ticipation in a university program or activity, or receipt of legitimately-re-

quested services” and that “meet[s] the description of … Hostile Environment

Harassment.” Ex. A at 9. “Protected class” includes an individual’s “race, color,

ethnicity, national origin, religion, non-religion, age, genetic information, sex

(including pregnancy and parental status, gender identity or expression, or

sexual orientation), marital status, physical or mental disability (including

learning disabilities, intellectual disabilities, and past or present history of

mental illness), political affiliations, [and] veteran’s status.” Ex. A at 9.

      Hostile-environment harassment is defined as discriminatory harass-

ment that is “so severe or pervasive” that, “when viewed from both a subjective

and objective perspective,” it “unreasonably interferes with, limits, deprives,

or alters” the “terms or conditions of education” or “participation in a univer-

sity program or activity.” Ex. A at 5. The University warns that “[a] hostile

environment can be created … by a single or isolated incident.” Ex. A at 5.

      Discriminatory harassment, according to the University, is “unlawful.”

Ex. A at 7. Examples include “verbal acts, name-calling, graphic or written

statements (via the use of cell phones or the Internet), or other conduct that

may be humiliating.” Ex. A at 9. According to the University, it can punish


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discriminatory harassment that occurs on or off campus. Ex. A at 2-3. There is

no “time limit for a complainant to report” such conduct to the University. Ex.

A at 20.

      Students report discriminatory harassment to the University’s Office of

Institutional Equity (OIE). OIE then conducts an investigation and gives writ-

ten findings. Students found guilty of discriminatory harassment are subject

to discipline. Ex. B at 3. Discriminatory harassment also violates the Golden

Rule Student Handbook—the code of conduct for University students. Viola-

tions of the code subject a student to discipline. Ex. C at 33. The University

tells students that the “Rules of Conduct should be read broadly and are not

designed to define prohibited conduct in exhaustive terms.” Ex. C at 24.

      On top of forbidding students from engaging in discriminatory harass-

ment themselves, the code of conduct also prohibits students from “condoning

or encouraging” discriminatory harassment and from “failing to intervene …

while it is occurring.” Ex. D at 5.008(4)(h). The code of conduct also forbids

“[c]omplicity,” which means “aiding, facilitating, promoting, or encouraging”

discriminatory harassment. Ex. D at 5.008(20).

      The University applies its discriminatory-harassment policy to protected

speech. In June 2020, after tenured psychology professor Dr. Charles Negy

posted controversial opinions about systemic racism, University officials urged

students to file discriminatory-harassment complaints against him. Ex. E


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(0:57-1:07), https://bit.ly/2ZHX0hc; Ex. F (0:35-0:50), https://bit.ly/3sjNmNO;

Ex. G. (2:27-2:50), https://bit.ly/3aH1uL4. Based on those complaints, Negy

was investigated and fired for discriminatory harassment. Ex. H.

II.   The Computer Policy
      The University also regulates what students can say on the internet. The

University requires students to sign a user agreement and register their per-

sonal devices to access its network. The ResNet User Agreement contains rules

that students must follow to maintain internet access. Ex. I. The Agreement

forbids students from using the University’s network to “transmit to others or

to display images, sounds, or messages that reasonably could be perceived as

being harassing, invasive, or otherwise unwanted.” Ex. I at 2. Further, in Sep-

tember 2016, the University promulgated Policy 4-002.2, which governs “all

University … students who use university information technology resources.”

Ex. J at 1. The Policy prohibits students from sending “harassing or hate mes-

sages” from their University email accounts. Ex. J at 4.

      The University’s computer policy does not elaborate on the terms “hate,”

“harassing,” “invasive,” or “unwanted”; nor does it provide any examples of pro-

hibited behavior. But the University is emphatic that it does “not tolerate hate

speech” and that it will “take decisive action to stamp out” discrimination

“[w]henever we find [it].” Ex. K.




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       Any violation of the University’s computer policies “shall result in disci-

plinary action,” “up to and including termination.” Ex. I at 4. Even without

formal discipline, violations “generally result in immediate loss of network and

computer access and privileges.” Ex. I at 5.

III.   The Bias-Related Incidents Policy and the JKRT Protocol
       The University maintains a bias-response team, which it calls the Just

Knights Response Team. The JKRT is “an inter-divisional team that assesses

bias inciden[ts]” to, among other things, create “effective interventions.” Ex. L

at 3. The JKRT is comprised of high-ranking officials from several University

departments, including the campus police. Ex. M.

       The JKRT is “a clearinghouse for any bias-related incidents that may

occur on UCF campuses.” To that end, the JKRT “receive[s], monitor[s], re-

fer[s], and, as necessary, coordinate[s] university resources to these incidents.”

Ex. L at 2. It “provides a safe space for students” who “are witnesses to or tar-

gets of bias” and “ensure[s] comprehensive responses” to bias-related incidents.

Ex. L at 2.

       The JKRT defines a bias-related incident as “any behavior or action di-

rected towards an individual or group based upon actual or perceived identity

characteristics or background.” Ex. N at 1. Bias occurs when students say

something “offensive” based on, for example, “race, sex (including gender iden-

tity/expression), color, religion, ancestry, national origin, age, disability,



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veteran status, military status, or sexual orientation.” Ex. N at 1. Such speech,

according to the University, “may contribute to creating an unsafe, negative,

unwelcoming environment of the victim, or anyone who shares the same social

identity as the victim.” Ex. N at 1. Something can be a bias-related incident

whether it is “legal, illegal, intentional, or unintentional,” and whether it oc-

curs on or off campus, including over the internet. Ex. N at 1. All that matters

is whether “sufficient objective facts” are present that “a reasonable person”

could conclude that “the behavior or actions in question may be motivated by

bias towards the status of a targeted individual or group.” Ex. N at 2.

      Students submit complaints about bias-related incidents via a JKRT in-

take form. The intake form asks students to specify the date and location of

the alleged incident and “list the individuals involved.” Ex. O. It contains en-

tries for the accused students’ name, student organization (if any), phone num-

ber, email address, and University Personal Identification Number. Ex. O. The

form instructs complainants to describe the incident, specify their “desired out-

come,” and provide “supporting documentation” as appropriate. Ex. O. Com-

plainants are not required to identify themselves.

      When the University receives complaints about bias-related incidents, it

initiates “the [JKRT] protocol.” Ex. N at 2. The JKRT “track[s]” bias-related

incidents and “will receive, monitor, refer, and, as necessary, coordinate uni-

versity resources to these incidents.” Ex. L at 1. The JKRT warns complainants


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that, “[b]y submitting your report, this information may be shared with the

Office of Student Conduct (OSC), Office of Student Rights and Responsibility

(OSRR), and/or the UCF Police Department (UCFPD).” Ex. P. The JKRT also

attempts to respond to every report within 48 hours, Ex. BB, and it uses the

reports to “creat[e] timely interventions,” Ex. L at 3. Interventions can “involve

a variety of activities including discussion, mediation, training, counseling and

consensus building.” Ex. L at 3. The interventions include both “the persons

involved in and impacted by bias inciden[ts],” though the JKRT tries to be “sen-

sitive to the rights of all parties involved.” Ex. L at 3.

      The University promotes the JKRT and encourages students to report

“bias-related incidents” to it. In June 2020, President Cartwright stressed that

“hate and bias-related incidents are responded to by the Just Knights Response

Team.” Ex. Q. The JKRT, he continued, reflects the University’s “commitment

… to be actively anti-racist”—to take “action” instead of relying solely on “re-

flection.” Ex. Q. Because “[s]ystemic racism, sexism, homophobia and other

hateful ideologies seek to deny our shared humanity,” he said, “[t]hey must be

called out and confronted.” Ex. Q. Around the same time, the interim dean of

the College of Sciences reiterated that “any social or racial bias can be reported

to [the JKRT].” Ex. R. The University’s Multicultural Student Center also

urges students to stand up “against prejudice in our community” by reporting




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other students to the JKRT, Ex. S, and University professors list the JKRT on

class syllabi. Ex. T at 6-7; Ex. U at 8.

      Given the University’s expansive definition of “bias-related incident,” the

JKRT protocol often targets protected expression. For example, in April 2019,

a JKRT member acknowledged that, when conservative groups invite speakers

to campus, other students come “to [his] office rehearsed in their ‘concerns’ for

their safety and mental health” to get the event “canceled.” Ex. V. The JKRT

also received at least ten reports about Dr. Negy’s speech before the University

fired him last month. Ex. W at 240.

IV.   Speech First and This Litigation
      Plaintiff, Speech First, is a nationwide membership organization dedi-

cated to preserving human and civil rights secured by law, including the free-

dom of speech. Neily Decl. ¶2. Speech First protects the rights of students at

colleges and universities through litigation and other lawful means. Neily

Decl. ¶2.

      Speech First has several members who currently attend the University,

including Students A, B, and C. Neily Decl. ¶¶3-8. These students’ views are

“unpopular and in the minority on campus.” E.g., Student A Decl. ¶4. For ex-

ample, Student A believes “affirmative action is deeply unfair.” Student A Decl.

¶5. Student B doesn’t believe she should be “forced to use” other people’s pre-

ferred pronouns and thinks “allowing biological men who are transgender to



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play in women’s sports is terrible and anti-feminist.” Student B. Decl. ¶¶5, 10.

Student C has “strong[]” views about immigration and “believe[s] that [he]

should be able to say that certain people are ‘illegal’ immigrants.” Student C

Decl. ¶5.

        Students A, B, and C want to “engage in open and robust intellectual

debate” with their fellow students and to “speak passionately and repeatedly”

about these issues in class, online, and in the broader community. Student A

Decl. ¶¶13-14; Student B Decl. ¶¶12-13; Student C Decl. ¶¶9-10. But they do

not fully express their beliefs or discuss certain topics because they know about

the University’s policies and do not want to face the negative repercussions.

Student A Decl. ¶15; Student B Decl. ¶14; Student C Decl. ¶11. According to

the students, Dr. Negy’s recent firing only confirmed their fears that the Uni-

versity will wield its policies against unpopular speech. E.g., Student A Decl.

¶20. And the students’ reluctance to speak freely is further magnified by the

fact that the University also forbids “condoning or encouraging,” “failing to in-

tervene” against, or “[c]omplicity” in another student’s misconduct. Student A

Decl. ¶17; Student B Decl. ¶16; Student C Decl. ¶13.

                                 ARGUMENT
        Speech First is entitled to a preliminary injunction if four things are

true:




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        1. It has “a substantial likelihood of success on the merits.”

        2. It will suffer “irreparable injury unless the injunction is
           granted.”

        3. The “harm from the threatened injury outweighs the harm the
           injunction would cause the opposing party.”

        4. And the injunction “would not be adverse to the public interest.”

Gonzalez v. Gov’r of Ga., 978 F.3d 1266, 1270-71 (11th Cir. 2020). In First

Amendment cases, the first factor is decisive. When a policy likely violates the

First Amendment, the remaining factors necessarily favor an injunction. See

Otto v. City of Boca Raton, 981 F.3d 854, 870 (11th Cir. 2020); KH Outdoor,

LLC v. City of Trussville, 458 F.3d 1261, 1272 (11th Cir. 2006). That’s the case

here.

I.      Speech First is likely to prevail on the merits.
        The First Amendment “reflects ‘a profound national commitment to the

principle that debate on public issues should be uninhibited, robust, and wide-

open.’” Snyder v. Phelps, 562 U.S. 443, 452 (2011). Its protections are strongest

on the campuses of public colleges and universities. See Healy, 408 U.S. at 180;

Sweezy v. N.H. ex rel. Wyman, 354 U.S. 234, 250 (1957); Doe v. Univ. of Mich.,

721 F. Supp. 852, 863 (E.D. Mich. 1989); Solid Rock, 478 F. Supp. at 102. Uni-

versities that try to police speech that is “biased,” “hateful,” “harassing,” or

“discriminatory” thus have a poor track record in court. A “consistent line of




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cases” has “uniformly found” such “campus speech codes unconstitutionally

overbroad or vague.” Fenves, 979 F.3d at 338-39 & n.17 (collecting ten cases).

      These policies are overbroad because they sweep in “a substantial

amount of speech that is constitutionally protected.” Forsyth Cty. v. Nationalist

Movement, 505 U.S. 123, 130 (1992). There is no First Amendment exception

for “harassing” or “hate” speech. Saxe v. State Coll. Area Sch. Dist., 240 F.3d

200, 210 (3d Cir. 2001); Matal v. Tam, 137 S. Ct. 1744, 1764 (2017). So policies

that regulate this speech impose “‘content-based, viewpoint-discriminatory re-

strictions.’” Saxe, 240 F.3d at 206. It is “a core postulate of free speech law”

that the government cannot “discriminate against speech based on the ideas

or opinions it conveys.” Iancu v. Brunetti, 139 S. Ct. 2294, 2299 (2019).

      Further, these policies are often void for vagueness. The Due Process

Clause prohibits policies that use terms so vague that individuals of “ordinary

intelligence” have “no reasonable opportunity to know what is prohibited,” that

lack “explicit standards,” or that encourage “ad hoc,” “subjective” enforcement.

Grayned v. City of Rockford, 408 U.S. 104, 108-09 (1972). This prohibition is

even “more stringent” for policies, like college speech codes, that affect “the

right of free speech.” Village of Hoffman Estates v. Flipside, Hoffman Estates,

Inc., 455 U.S. 489, 499 (1982). Speech codes that rely on loose, subjective stand-

ards are void for vagueness because students cannot know in advance (and

administrators can arbitrarily decide) what’s prohibited. See Coates v.


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Cincinnati, 402 U.S. 611, 614 (1971); McCauley v. Univ. of V.I., 618 F.3d 232,

250-51 (3d Cir. 2010).

      The policies challenged here suffer from these same defects. The Univer-

sity’s discriminatory-harassment policy, computer policy, and bias-related in-

cidents policy likely violate the First and Fourteenth Amendments.

      A.    The discriminatory-harassment policy is overbroad and
            viewpoint-discriminatory.
      The University’s discriminatory-harassment policy is overbroad. While

universities can regulate harassing conduct, the University concedes that its

policy regulates speech—“verbal acts, name-calling, [and] graphic or written

statements.” Ex. A at 9. In fact, the policy targets “political” speech and speech

on the most controversial issues of the day, including “race,” “gender identity,”

and “religion” and “non-religion.” Ex. A at 9. The policy thus “strikes at the

heart of moral and political discourse—the lifeblood of constitutional self gov-

ernment (and democratic education) and the core concern of the First Amend-

ment.” Saxe, 240 F.3d at 210.

      The discriminatory-harassment policy does not honor the line between

punishable conduct and protected speech that the Supreme Court drew in Da-

vis v. Monroe County Board of Education, 526 U.S. 629 (1999). Interpreting

Title IX, Davis defined “sexual harassment” as behavior that is “so severe, per-

vasive, and objectively offensive that it denies its victims … equal access to

education.” Id. at 652. The Davis standard intentionally excludes “a single

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instance of one-on-one peer harassment,” even if “sufficiently severe.” Id. at

652-53. The Davis Court adopted this narrow standard because a broader one

would collide with the First Amendment. See id. at 649-52; id. at 667 (Kennedy,

J., dissenting). The University, however, ignores Davis’s limits. Because its

policy covers “severe or pervasive” harassment, it reaches “a single or isolated

incident, if sufficiently severe.” Ex. A at 5 (emphasis added). And instead of

barring harassment that denies someone’s education, the University bans har-

assment that “interferes with, limits, deprives, or alters” it. Ex. A at 5. The

University has no legitimate basis to go beyond Davis’s limits. See Fenves, 979

F.3d at 337 n.16; DeJohn v. Temple Univ., 537 F.3d 301, 318 (3d Cir. 2008).

      Even if the discriminatory-harassment policy had hewed to Davis, it still

would violate the First Amendment because it discriminates by content and

viewpoint. The University’s policy does not bar “harassment”; it bars “discrim-

inatory harassment.” Specifically, it bars only harassment that is “based upon”

various “protected classes” (e.g., race, sex, religion, and political affiliation).

Ex. A at 9. This is content discrimination because the University allows har-

assment that is not “addressed to one of the specified disfavored topics.” R.A.V.

v. City of St. Paul, 505 U.S. 377, 391 (1992). And it is viewpoint discrimination

because the University is targeting speech on these topics that discriminates

or offends. Id. at 391-93; Iancu, 139 S. Ct. at 2300; Dambrot v. Cent. Mich.

Univ., 55 F.3d 1177, 1184-85 (6th Cir. 1995). The University has no legitimate


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interest in drafting its policy this way. R.A.V., 505 U.S. at 395-96; IOTA XI

Chapter of Sigma Chi Fraternity v. George Mason Univ., 993 F.2d 386, 393 (4th

Cir. 1993).

      B.      The computer policy is overbroad and vague.
      The University’s computer policy is similarly overbroad. The challenged

provisions only regulate speech; they govern “messages” and what students can

“transmit” and “display.” Exs. I-J. Their broad bans on messages that are “har-

assing,” “hate,” “invasive,” or “unwanted” impose content-based, viewpoint-

based restrictions on a limitless amount of protected speech. See Dambrot, 55

F.3d at 1182-85; DeJohn, 537 F.3d at 319-20; McCauley, 618 F.3d at 251-52.

The overbreadth is magnified by the fact that the computer policy turns on “the

subjective reaction of the listener,” McCauley, 618 F.3d at 252, and does not

require any minimum amount of severity or pervasiveness, DeJohn, 537 F.3d

at 320.

      The computer policy is also void for vagueness. The University does not

define or elaborate the meaning of “harassing,” “hate,” or “invasive”—terms

that “are general and elude precise definition.” Doe, 721 F. Supp. at 867. Worse,

each of these terms—especially “unwanted”—is “subjective,” since “different

people find different things” harassing, hateful, invasive, or unwanted. Dam-

brot, 55 F.3d at 1184.




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      The ResNet User Agreement adds another layer of vagueness by asking

whether the message “reasonably could be perceived as being” harassing, inva-

sive, or unwanted. Ex. I at 2 (emphasis added). Perceived by whom? The par-

ticular recipient? An average student? The University? The policy is vague be-

cause it never specifies “whose sensibilities must be offended.” Kramer v. Price,

712 F.2d 174, 178 (5th Cir. 1983), on reh’g, 723 F.2d 1164 (5th Cir. 1984); ac-

cord Wollschlaeger v. Governor, Fla., 848 F.3d 1293, 1321-22 (11th Cir. 2017)

(en banc majority op. of Marcus, J.). Even if it did specify the relevant audience,

the policy remains impenetrable because, by its terms, it covers messages that

“reasonably could be perceived” as harassing, invasive, or unwanted—even if

the message is not in fact harassing, invasive, or unwanted. “This vagueness

is inconsistent with the command of the First Amendment.” Wollschlaeger, 848

F.3d at 1322-23.

      C.    The bias-related incidents policy, as enforced by the JKRT
            protocol, is overbroad and vague.
      The University’s policy on bias-related incidents suffers from the same

overbreadth and vagueness problems. The definition of bias-related incidents

expressly covers speech—including “[s]igns,” “mail/email,” “[t]elephone” calls,

“[c]onfrontation/intimidation,” “[v]erbal harassment,” and “other”—even if the

speech is entirely “legal.” Ex. N at 3. By targeting speech that is “biased,” “of-

fensive,” and “based upon” specific classifications, Ex. N at 1, the policy is a

content-based, viewpoint-based regulation on protected expression. R.A.V., 505

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U.S. at 391-93. The definition of “bias-related incident” is also vague. It turns

on unpredictable assessment of how speech “may be” perceived, and it applies

even if a student’s bias was “unintentional.” Ex. N at 1. The terms “bias” and

“offensive” are also undefined and subjective. Ex. N at 1. As a member of the

JKRT acknowledged in a different setting, “I am not sure we can actually de-

fine bias. It’s too subjective.” Ex. X.

      Although bias-related incidents “do not necessarily rise to the level of …

a violation of … university policy,” Ex. N at 1, policies that “fall short of a direct

prohibition” still violate the First Amendment when they have an objective

“chilling” effect on speech, Laird v. Tatum, 408 U.S. 1, 11 (1972). Objective chill

can occur through “[i]nformal measures” such as “indirect ‘discouragements,’”

“‘threat[s],’” “‘coercion, persuasion, and intimidation.’” White v. Lee, 227 F.3d

1214, 1228 (9th Cir. 2000) (quoting Bantam Books, Inc. v. Sullivan, 372 U.S.

58, 67 (1963)); Am. Commc’ns Ass’n v. Douds, 339 U.S. 382, 402 (1950). Bias-

response teams like the JKRT—as two appellate courts found in cases brought

by Speech First—objectively chill students’ speech. See Fenves, 979 F.3d at 333

(University of Texas’s Campus Climate Response Team); Speech First, Inc. v.

Schlissel, 939 F.3d 756, 765 (6th Cir. 2019) (University of Michigan’s Bias Re-

sponse Team).

      The JKRT “acts by way of implicit threat of punishment and intimidation

to quell speech.” Schlissel, 939 F.3d at 765. From beginning to end, the JKRT


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is designed to send a clear message to students: If you engage in a “bias-related

incident,” you are in trouble. The very name Just Knights Response Team “sug-

gests that the accused student’s actions have been prejudged to be [unjust]”

and “could result in far-reaching consequences.” Id. The JKRT’s terminology—

“bias,” “incident,” “victim,” “targets,” “witnesses,” etc.—also suggests serious

misconduct. See id. (“Nobody would choose to be considered biased”); Fenves,

979 F.3d at 338 (“The CCRT describes its work, judgmentally, in terms of ‘tar-

gets’ and ‘initiators’ of incidents.”). That the University “invites anonymous

reports” to the JKRT likewise “carries particular overtones of intimidation to

students whose views are ‘outside the mainstream.’” Fenves, 979 F.3d at 338.

And because the JKRT is comprised of high-level university administrators, a

student “could be forgiven for thinking that inquiries from and dealings with

the [JKRT] could have dramatic effects such as currying disfavor with a pro-

fessor, or impacting future job prospects.” Schlissel, 939 F.3d at 765. Experts

thus agree that these teams objectively chill students’ speech. See Ex. Y at 5;

Ex. Z at 2-3; Ex. CC; Fenves, 979 F.3d at 338.

      The JKRT’s “ability to make referrals” is one particular way that it “ob-

jectively chills speech.” Schlissel, 939 F.3d at 765; accord Fenves, 979 F.3d at

333. Right on the homepage, the JKRT has a “[d]isclaimer” warning students

that it can “share[]” reports of bias incidents to the University’s disciplinary

bodies: “the Office of Student Conduct (OSC), Office of Student Rights and


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Responsibility (OSRR), and/or the UCF Police Department (UCFPD).” Ex. P.

Referrals, in turn, can “lead to” formal discipline and, at a minimum, “initiate[]

the formal investigative process, which itself is chilling.” Schlissel, 939 F.3d at

765. Students need look no further than Dr. Negy for a recent example of how

this process can play out.

      The JKRT also chills speech with its so-called “protocol,” Ex. N at 2—a

kind of “‘process-is-punishment’ mechanism that deters people from speaking

out,” Ex. Y at 28. Committing a “bias-related incident” can get a student “re-

port[ed],” “track[ed],” “monitor[ed],” investigated, and referred for discipline.

Ex. L at 1-2; Ex. P. It can also trigger a JKRT “intervention,” such as a request

to meet for “discussion,” “mediation,” “training,” “counseling,” or “consensus

building.” Ex. L at 3. Though these meetings are ostensibly “voluntary,” stu-

dents do not see them that way. See Schlissel, 939 F.3d at 765. Especially not

at the University, which prohibits “[f]ailure to comply with oral or written in-

struction from duly authorized University officials.” Ex. C at 48.

      In sum, the JKRT protocol “is sufficiently proscriptive to objectively chill

student speech.” Fenves, 979 F.3d at 333. Because the JKRT protocol is the

consequence for committing a “bias-related incident,” and because the Univer-

sity’s definition of “bias-related incident” is plainly unconstitutional, Speech

First is likely to succeed on this claim.




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II.    Speech First satisfies the remaining preliminary-injunction cri-
       teria.
       Because Speech First is likely to prevail on its constitutional claims, the

other criteria for a preliminary injunction are necessarily satisfied.

       Irreparable Harm: The “loss of First Amendment freedoms, for even

minimal periods of time, unquestionably constitutes irreparable injury.” Elrod

v. Burns, 427 U.S. 347, 373 (1976); accord Otto, 981 F.3d at 870; KH Outdoor,

458 F.3d at 1271-72.

       Balance of Harms & Public Interest: Because the University is a

state actor, the “third and fourth requirements for a preliminary injunction—

damage to the opposing party and public interest—can be consolidated.” Otto,

981 F.3d at 870 (cleaned up). And it’s “clear” that “neither the government nor

the public has any legitimate interest in enforcing an unconstitutional [pol-

icy].” Id.

III.   The Court should decline to require an injunction bond.
       No bond is needed here. Courts have broad discretion to “elect to require

no [bond].” BellSouth Telecomms., Inc. v. MCIMetro Access Trans. Servs., LLC,

425 F.3d 964, 971 (11th Cir. 2005). Bonds are usually reserved for injunctions,

unlike this one, that “prevent[] commercial, money-making activities.” APR

Energy, LLC v. First Inv. Grp. Corp., 88 F. Supp. 3d 1300, 1324 (M.D. Fla.

2015). And “[w]aiving” the bond is “particularly appropriate” in cases, like this




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one, that allege “the infringement of a fundamental constitutional right.” Curl-

ing v. Raffensperger, 2020 WL 5757809, at *25 n.25 (N.D. Ga. Sept. 28, 2020).

                               CONCLUSION
      The Court should grant Speech First’s motion and preliminarily enjoin

Defendants from enforcing the challenged policies during this litigation.



                                           Respectfully submitted,

      Dated: February 22, 2021             /s/ Daniel Shapiro

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                      CERTIFICATE OF SERVICE
      On February 22, 2021, this document and its attachments were filed

with the Court via the Court’s ECF system and were emailed to Youndy Cook,

Vice President and General Counsel of the University of Central Florida.

                                                /s/ Daniel Shapiro




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